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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re:                                                 Chapter 11

  FRANCHISE GROUP, INC., et al.,                         Case No. 24-12480 (JTD)

                             Debtors.                    (Jointly Administered)


                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the below certification, counsel moves for the admission pro
hac vice of Brady Sullivan, of Willkie Farr & Gallagher LLP, as counsel to the debtors and debtors in
possession in the above-captioned cases.

Dated: December 5, 2024                           /s/ Shella Borovinskaya
                                                  Shella Borovinskaya (Bar No. 6758)
                                                  YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                  Rodney Square, 1000 North King Street
                                                  Wilmington, Delaware 19801
                                                  Telephone: 302-571-6600
                                                  Email: sborovinskaya@ycst.com

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing, and in good standing as a member of the Bar of the State of New York, and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct that occurs in the preparation or course of
this action. I also certify that I am generally familiar with this Court’s Local Rules and with the Revised
Standing Order for District Court Fund effective December 21, 2023. I further certify that the annual fee
of $50.00 has been paid to the Clerk of the Court for the District Court.

Dated: December 5, 2024                           /s/ Brady Sullivan
                                                  Brady Sullivan
                                                  Willkie Farr & Gallagher LLP
                                                  787 Seventh Avenue
                                                  New York, New York 10019
                                                  Telephone: 212-728-8000
                                                  Email: bsullivan@willkie.com

                                     ORDER GRANTING MOTION

           IT IS HEREBY ORDERED that counsel’s Motion for Admission pro hac vice is granted.
